                 IN THE UNITED STATES DISTRICT COURT FOR THE
               MIDDLE DISTRICT OF TENNESSEE, NASHVILLE DIVISION

JOHN DOE #1,

        Plaintiff,

        vs.

WILLIAM B. LEE, Governor of the State                  Case No.
of Tennessee, and DAVID B. RAUSCH,
Director of the Tennessee Bureau of
Investigation, in their official capacities,

        Defendants.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


        Plaintiff John Doe (“Plaintiff”) hereby complains against Defendants William B. Lee and

David B. Rausch as follows:

                                           INTRODUCTION

        1. Article I, section 10, clause 1 of the United States Constitution (the “Ex Post Facto

Clause”) provides in relevant part: “No State shall…pass any…ex post facto Law[.]” The Ex

Post Facto Clause prohibits laws that impose retroactive punishment. A law imposes punishment

if it is punitive in intent or punitive in effect.

        2. Plaintiff is a Tennessee resident who must comply with the Tennessee Sexual Offend-

er and Violent Sexual Offender Registration, Verification, and Tracking Act of 2004 for the rest

of his life. See Tenn. Code Ann. §§ 40-39-201–40-39-218 (West 2021) (“SORA”).

        3. Plaintiff was convicted of committing a sex offense that occurred before SORA took

effect in 2004 and before Tennessee’s first sex offender registry law took effect in 1995.

        4. SORA imposes onerous restrictions on Plaintiff that burden his liberty in every aspect

of his life. Plaintiff must report in person every calendar quarter and must report on 48 hours’



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notice for certain other reasons. Pursuant to SORA, the state of Tennessee publicly and falsely

identifies Plaintiff as “violent.” Plaintiff may not live, work, stand, “sit idly,” or remain in vast

areas of the state of Tennessee, especially within its cities and towns. Plaintiff cannot attend his

children’s school functions and sporting events. Plaintiff must comply with these restrictions and

obligations for the rest of his life. Any failure to comply is a felony punishable by a mandatory

minimum prison term.

         5. Individually and in combination, SORA’s requirements and limitations are punitive in

effect and therefore constitute an unconstitutional ex post facto law as applied to Plaintiff.

         6. Plaintiff seeks declaratory and injunctive relief barring SORA’s application to Plain-

tiff.

                                 JURISDICTION AND VENUE

         7. This Court has jurisdiction under 28 U.S.C. § 1331 and § 1343 (West 2021) because

Plaintiff seeks redress pursuant to 42 U.S.C. § 1983 (West 2021) for the violation of his rights

under the United States Constitution.

         8. Plaintiff’s claims for declaratory and injunctive relief are authorized by 28 U.S.C.

§§ 2201–2202 (West 2021), by Fed. R. Civ. P. 57 and 65 (West 2021), and by the legal and equi-

table powers of this Court.

         9. Venue is proper in the Middle District of Tennessee pursuant to 28 U.S.C. § 1391(b)

(West 2021).

                                             PARTIES

                                              Plaintiff

         10. Plaintiff is an individual who resides in the Middle District of Tennessee and is re-

quired to comply with SORA.




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                                           Defendant Lee

       11. Defendant William B. Lee is the Governor of the State of Tennessee and resides in the

Middle District of Tennessee. He is sued in his official capacity.

       12. Pursuant to Article III, section 1 of the Tennessee Constitution, the supreme executive

power of the state is vested in the governor. The Tennessee Constitution further provides that the

governor shall take care that applicable federal and state laws are faithfully executed. Tenn.

Const., art. III, § 10 (West 2021). The governor is ultimately responsible for the enforcement of

the laws of this state, including SORA, and for supervision of all state departments, including the

Tennessee Bureau of Investigation (the “TBI”), which maintains the sex offender registry created

by SORA.

       13. Governor Lee is an appropriate defendant in a case challenging the constitutionality

of SORA.

                                         Defendant Rausch

       14. Defendant David B. Rausch is the Director of the TBI and resides in the Middle Dis-

trict of Tennessee. He is sued in his official capacity.

       15. SORA requires the TBI to maintain Tennessee’s sex offender registry. Tenn. Code

Ann. § 40-39-204(a) & (d), § 40-39-206(a) (West 2021). The TBI’s responsibilities include en-

forcing SORA, maintaining the state’s database of sex offenders, maintaining an Internet-

accessible public sex offender registry, registering offenders (along with other law enforcement

agencies), developing registration forms, providing statutorily-required notices to registrants,

collecting registration fees, and coordinating with national law enforcement and the national sex

offender registry. See Tenn. Code Ann. § 40-39-203(i), § 40-39-204(a) & (d), § 40-39-205(a) &

(f), § 40-39-206 (West 2021).




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       16. The director of the TBI is an appropriate defendant in a case challenging the constitu-

tionality of SORA.

                                            FACTS

                          A. Tennessee’s Sex Offender Registry Law

       17. Tennessee’s first sex offender registry law took effect January 1, 1995. 1994 Tenn.

Pub. Laws, ch. 976, § 11 (West).

       18. After multiple amendments, the original sex offender registry law was ultimately re-

placed by SORA, effective August 1, 2004. 2004 Tenn. Pub. Acts, ch. 921, § 6 (West).

       19. On March 2, 2013, Judge Aleta A. Trauger, United States District Judge for the

Middle District of Tennessee issued a “memorandum” which stated that “the Court’s holding in

this case strongly suggests that Tennessee’s policy of continuing to apply the Act [the SORA] to

other individuals who committed pre-enactment offenses is unconstitutional. Indeed, that is

putting things too mildly; the court’s holding definitely suggests as much. How could it not?”

John Does #1-9 v. Lee and Rausch, Middle District of Tennessee, Case No. 3:21-CV-00590

(memorandum issued March 2, 2023 (emphasis in original).

                             B. Plaintiff’s Offense and Conviction

       20. On October 17, 1996, Plaintiff was indicted for rape. (Ex. A).

       21. On July 22, 1997, Plaintiff pled guilty to rape and was sentenced to an eight year

sentence with all of the sentence suspended to supervised probation after the Plaintiff serviced a

year in a Tennessee Department of Correction facility.       Nothing in the judgment mentions

anything concerning sex offender supervision. (Ex. B)

       22. Upon a motion filed by District Attorney General Randall A. York “to require

community supervision for life” (which was not served on the then incarcerated Plaintiff until his

release from prison AFTER the amended judgment had been entered), on September 8, 2006, the


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State of Tennessee filed an “amended judgment” in the Plaintiff’s case              which added the

following language: “this judgment is hereby amended to reflect that the defendant shall be on life

time supervision.” Neither the Plaintiff nor any defense attorney signed the amended judgment.

(Ex. C and D).

       23. Although an order releasing the Plaintiff from Community Supervision for Life was

entered on July 25, 2008, the Plaintiff remains on lifetime supervision. (Ex. E).

       24. Since his guilty plea, Plaintiff has had a DUI conviction, a sale and delivery of

cocaine conviction and several violation of probation convictions but has otherwise led a

productive, tax paying, law-abiding life. No convictions since 2008. Plaintiff is divorced, and

has children, and has worked at his current employment for thirteen (13) years.

       25. In early September 2022, Plaintiff’s attorney wrote the Tennessee Bureau of

Investigation, Sex Offender Unit (“Unit”) requesting that Plaintiff be removed from the registry.

On September 6, 2022, the Unit responded stating that “your request must be denied because you

are classified as a ‘violent sexual offender’ and are required to register for life in Tennessee” and

that the Plaintiff was classified as a “violent sexual offender” “due to your conviction in Putnam

County, Tennessee on September 6, 2006 for Rape.” (Ex. F). (NB the conviction date is

incorrect—Plaintiff entered a plea in 1997.)

                                    C. Reporting Obligations

       26. SORA classifies offenders as “sexual offenders,” “violent sexual offenders,” and

“violent juvenile sexual offenders.” Tenn. Code Ann. § 40-39-202(9) (West 2021). An offender’s

classification determines the length of time that a person must register and the frequency of re-

porting. See id. §§ 40-39-204, 40-39-207(g) (West 2021).

       27. “Sexual offenders” must register and comply with all obligations imposed by SORA

for at least ten years, while “violent sexual offenders” must register and comply for life. See


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Tenn. Code Ann. § 40-39-207(a) & (g) (West 2021).

       28. An offender’s classification is based solely on the offense of conviction. Tenn. Code

Ann. § 40-39-202(19), (20), (30) & (31) (West 2021).

       29. An offender’s classification is not based on, and does not correspond to, an

individualized assessment of the offender’s actual risk of re-offending or the danger the offender

poses to the public.

       30. SORA defines Plaintiff’s sex offense as a “violent sexual offense.” Tenn. Code Ann.

§ 40-39-202(31) (West 2021). Plaintiff is therefore required to register and report as a “violent

sexual offender” for life, Tenn. Code Ann. § 40-39-207(g)(2)(B) (West 2021).

       31. Even upon the clearest proof that Plaintiff is not dangerous, there is no mechanism

under SORA that would allow Plaintiff to have his registration obligations eliminated or reduced.

       32. As a “violent sexual offender,” Plaintiff must report in person every March, June,

September, and December, Tenn. Code Ann. § 40-39-204(b)(1) (West 2021), and must provide

the following information:

           (a) Plaintiff’s complete name and all aliases;

           (b) Plaintiff’s date and place of birth;

           (c) Plaintiff’s social security number;

           (d) A photocopy of Plaintiff’s driver license;

           (e) Sexual offenses or violent sexual offenses for which Plaintiff has been convicted,

               the date of the offenses, and the county and state of each conviction;

           (f) Name of any of Plaintiff’s current employers and length of employment, includ-

               ing physical addresses and phone numbers;

           (g) Plaintiff’s current physical address and length of residence at that address, includ-

               ing any primary or secondary residences;


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    (h) Plaintiff’s mailing address, if different from Plaintiff’s physical address;

    (i) Any vehicle, mobile home, trailer, or manufactured home used or owned by Plain-

       tiff, including descriptions, vehicle information numbers, and license tag num-

       bers;

    (j) Any vessel, live-aboard vessel, or houseboat used by Plaintiff, including the name

       of the vessel, description, and all identifying numbers;

    (k) Name and address of each institution of higher education in this state where Plain-

       tiff is employed or practices a vocation or is a student;

    (l) Plaintiff’s race and gender;

    (m) Name, address, and phone number of Plaintiff’s closest living relative;

    (n) Whether victims in the underlying offenses were minors or adults, the number of

       victims, and the correct age of the victim or victims and of Plaintiff at the time of

       the offense or offenses, if the ages are known;

    (o) Verification by the TBI or Plaintiff that the TBI has received Plaintiff’s DNA

       sample;

    (p) A complete listing of Plaintiff’s electronic mail address information, including

       usernames, any social media accounts Plaintiff uses or intends to use, instant mes-

       sage accounts, other Internet communication platforms or devices, and Plaintiff’s

       username, screen name, or other method by which Plaintiff accesses these ac-

       counts or web sites;

    (q) Whether any minors reside in Plaintiff’s primary or secondary residences;

    (r) Any other registration, verification, and tracking information, including finger-

       prints and a current photograph of Plaintiff, his vehicles, and his vessels, required

       by TBI rules;


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            (s) Copy of Plaintiff’s passport; and

            (t) Professional licensing information that authorizes Plaintiff to engage in an occu-

                   pation or carry out a trade or business.

 Tenn. Code Ann. § 40-39-203(i) (West 2021).

        33. SORA requires Plaintiff to provide a “current” photograph, Tenn. Code Ann. § 40-39-

 203(i)(19) (West 2021), which means if Plaintiff’s appearance changes, he must update the

 photograph within 48 hours. Id. § 40-39-203(a)(4).

        34. In addition to reporting in person at regular intervals, Plaintiff must report in person

 within 48 hours if any of the information above changes. Tenn. Code Ann. § 40-39-203(a)(4)

(West 2021). For example, Plaintiff must report in person within 48 hours if he changes his ad-

dress, job, or e-mail address, opens a Facebook account, buys or begins using a vehicle, or stops

using a vehicle.

        35. There are no “good cause” exceptions to the reporting requirements or to the 48-hour

 notification requirements. Regardless of illness, injury, transportation problems, or other emer-

 gencies, Plaintiff must report in person within 48 hours or face criminal charges.

                                        D. Family Relationships

        36. SORA severely burdens Plaintiff’s family relationships in multiple ways.

        37. If Plaintiff’s own child is at any school, child care facility, public park, playground,

 recreation center or public athletic field, Plaintiff cannot enter the premises except to attend a

 “conference” with “officials,” and only after receiving written permission or a request from the

 school’s principal or facility’s administrator, or to drop off or pick up the child at school, and on-

 ly after notifying the school’s principal or administrator that he is a registered sex offender. Tenn.

 Code Ann. § 40-39-211(d)(1) & (2) (West 2021).

        38. Thus, Plaintiff cannot attend his children’s school functions (including graduation)


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and school sporting events.

        39. On one occasion Plaintiff was at a school softball game (that he was legally allowed

to attend at the time but would not be allowed under SORA) and the opposing team’s coach was

Petitioner’s sex offender probation officer, the probation officer made a “seen:” at the softball

game yelling at Plaintiff that “he was a sex offender”, “he shouldn’t be here” and “if he doesn’t

leave I’m going to call the police;” the Plaintiff left the game.

        40. Plaintiff cannot “[b]e upon or remain on the premises of any building or grounds of

any public school, private or parochial school, licensed day care center, other childcare facility,

public park, playground, recreation center or public athletic field available for use by the general

public in this state when the offender has reason to believe children under eighteen (18) years of age are

present.” Tenn. Code Ann. § 40-39-211(d)(A) (West 2021). Thus, Plaintiff cannot go to parks and

playgrounds with his minor children or attend their non-school sporting events.

        41. Plaintiff cannot allow his minor children to invite their friends to his home because he

cannot “be alone with a minor or minors in a private area” except under limited and vaguely

defined circumstances and this has caused him to be estranged from his children. See Tenn. Code

Ann. § 40-39-211(k) (West 2021).

        42. Plaintiff’s SORA registration causes ostracism and humiliation for his entire family.

        43. SORA’s restrictions prohibit Plaintiff from participating with his children in

Halloween events.

        44. Law enforcement officers further humiliate Plaintiff and his family by coming to his

house unannounced for “spot checks,” usually in the holiday season.

                                              E. Housing

        45. SORA severely burdens Plaintiff’s access to housing. SORA bars Plaintiff from “re-

siding” within 1,000 feet of any “public school, private or parochial school, licensed day care

center, other childcare facility, public park, playground, recreation center or public athletic field

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available for use by the general public,” making a substantial amount of housing unavailable as a

matter of law. Tenn. Code Ann. § 40-39-211(a)(1) (West 2021).

        46. To give his family relief from his neighbors’ ostracism, Plaintiff attempted to buy a

house in a different neighborhood. After paying the earnest money, however, the law enforce-

ment agency to which he reported told him he could not live there because there was an in-home

daycare close by. Plaintiff lost the house and his earnest money.

        47. Plaintiff cannot live in the city limits of his chosen home town because of the SORA

restrictions.

                                         F. Employment

        48. SORA bars Plaintiff from working within 1,000 feet of any “public school, private or

parochial school, licensed day care center, other childcare facility, public park, playground, rec-

reation center or public athletic field available for use by the general public,” making a substan-

tial number of employments unavailable as a matter of law. Tenn. Code Ann. § 40-39-211(a)(1)

(West 2021).

        49. The ostracism Plaintiff suffers as a result of SORA registration also affects his

Employment and Plaintiff has lost at least one employment possibility a result of his registration.

        50. Plaintiff’s employment options are severely limited due to SORA’s prohibitions on

where he can work. Plaintiff had a job, which he started in 1998. In 2009, Plaintiff’s probation

officer was at Plaintiff’s workplace (on another matter) and when Plaintiff came to work, his

probation officer told Plaintiff that he had to leave the workplace (and resign) or Plaintiff would

be arrested. The basis of this demand was that a new school had been built within 1000 feet (as

the crow flies) from Plaintiff’s workplace. As a result of losing his job, Plaintiff could not

complete the purchase of a home and had his car repossessed. At the same time, Plaintiff’s

probation officer searched his house and forced Plaintiff’s wife to thrown away her marital aids


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 and Plaintiff’s personal protection devices.

                                   G. Educational Opportunities

        51. SORA makes it more difficult for Plaintiff to get an education. Plaintiff’s sex offender

 registration must include the name and address of each institution of higher education where

 Plaintiff is a student, Tenn. Code Ann. § 40-39-203(i)(12) (West 2021), and the TBI must provide

 Plaintiff’s registration information to any school in which Plaintiff becomes a student, id. § 40-

 39-214(a)(2). This means Plaintiff is automatically stigmatized if he seeks an education.

                                                H. Travel

        52. Plaintiff’s status as a registrant has severely restricted his ability to travel. Plaintiff

 must provide at least twenty-one days’ advance notice before traveling out of the country. Tenn.

 Code Ann. § 40-39-204(h) (West 2021). SORA allows overseas travel on twenty-four hours’ no-

 tice in just two cases: (a) registrants who travel out of the country frequently “for work or other

 legitimate purpose” and who have “the written approval of the designated law enforcement

agency”; and (b) registrants who travel overseas for “emergency situations.” Id. Since the law

does not define what constitutes an “emergency,” whether he can leave the country on less than

twenty-one days’ notice is subject to the arbitrary determination of law enforcement officials.

        53. In addition, Plaintiff must plan his travel so that he is able to register in person quar-

 terly, as required by SORA. Tenn. Code Ann. § 40-39-204(b) (West 2021).

        54. The “International Megan’s Law to Prevent Child Exploitation and Other Sexual

 Crimes Through Advanced Notification of Traveling Sex Offenders,” Pub. Law No. 114–119,

 130 Sta. 15 (West), generally authorizes the federal government to give “advance notice” to a

 foreign country when a registered sex offender is traveling to that country, id. § 4(e)(3), and

 makes it a federal crime for a registered sex offender to fail to report information on intended

 international travel, id. § 6(a). The law also requires that passports issued to persons registered as


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sex offenders have a “unique identifier” indicating their status. Id. § 8.

       55. Plaintiff cannot know whether a country receiving advance notice will prohibit Plain-

tiff’s entry. Thus, the requirement under Tennessee law that Plaintiff register as a sex offender

burdens his ability to travel anywhere else in the world and also exposes Plaintiff to extra scruti-

ny by United States immigration officials when he returns to the country.

                                              I. Speech

       56. SORA severely burdens Plaintiff’s ability to speak freely. Plaintiff not only must pro-

vide law enforcement with all electronic mail addresses, instant message addresses, log-in

names, or other identifiers that are assigned to or routinely used by him, Tenn. Code Ann. § 40-

39-203(i)(17) (West 2021), but must also report within three days whenever he establishes any

electronic mail address, instant message address, or other designation used in Internet communi-

cations or postings, id. § 40-39-203(a)(7).

       57. SORA expressly authorizes monitoring offenders’ internet use:

       Registry information regarding all registered offender’s electronic mail address infor-
       mation, any instant message, chat or other Internet communication name or identity in-
       formation may be electronically transmitted by the TBI to a business or organization that
       offers electronic communication or remote computing services for the purpose of pre-
       screening users or for comparison with information held by the requesting business or or-
       ganization. In order to obtain the information from the TBI, the requesting business
       or organization that offers electronic communication or remote computing services
       shall agree to notify the TBI forthwith when a comparison indicates that any such
       registered sex offender’s electronic mail address information, any instant message,
       chat or other Internet communication name or identity information is being used on
       their system. The requesting business or organization shall also agree that the infor-
       mation will not be further disseminated.

Tenn. Code Ann. § 40-39-203(m) (West 2021) (emphasis added).

       58. Under SORA, Plaintiff cannot engage in anonymous political speech on the Internet

because Plaintiff must report the e-mail address or other username he uses on any site such as

Change.org or Whitehouse.gov. The United States Supreme Court has held that anonymous polit-

ical speech exemplifies the purpose of the First Amendment:

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       Under our Constitution, anonymous pamphleteering is not a pernicious, fraudulent prac-
       tice, but an honorable tradition of advocacy and of dissent. Anonymity is a shield from
       the tyranny of the majority. See generally J. Mill, On Liberty and Considerations on Rep-
       resentative Government 1, 3–4 (R. McCallum ed. 1947). It thus exemplifies the purpose
       behind the Bill of Rights, and of the First Amendment in particular: to protect unpopular
       individuals from retaliation—and their ideas from suppression—at the hand of an intoler-
       ant society.

McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 357 (1995). The anonymous online petition-

er, blogger, and commenter is the modern version of the anonymous pamphleteer. SORA de-

prives Plaintiff of his constitutional right to engage in such protected speech.

                             J. False Information & Stigmatization

       59. The sex offender registry stigmatizes Plaintiff and exposes Plaintiff to public hostility

by publicly and falsely labeling him as “violent” based solely on the statutory classification of

his offense as a “violent sex offense.”




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       60. The public registry website not only generates hostility toward Plaintiff, it enables

anyone hostile toward Plaintiff because of his registry status to find him by posting extensive

personal information about Plaintiff, including his residential address, employer address, date of

birth, school information, vehicle information, physical description, and photograph. Tenn. Code

Ann. § 40-39-203(i) (West 2021). As a result, Plaintiff is exposed to a substantial risk of ostra-

cism, harassment, and violence.

       61. Because Plaintiff is stigmatized as a “violent” sex offender on the public registry

website, he and his family have been subjected to ostracism and harassment.

                               K. SORA Compared to Probation

       62. SORA’s reporting, surveillance, and supervision requirements are similar to, but more

restrictive and onerous than, the reporting, surveillance, and supervision that Plaintiff has

experienced while serving his sentence on probation.

       63. Plaintiff was required to report to his probation officer only periodically for a fixed

term. Under SORA, Plaintiff must report quarterly, and every time he leaves or returns to the

country, and on numerous other occasions, for the rest of his life. While on probation, Plaintiff

reported briefly at scheduled times and could even report some matters to his probation officer

by telephone. As Plaintiff progressed through probation, the probation officer required increas-

ingly less reporting. Under SORA, Plaintiff must report in person. He cannot report at a sched-

uled time. He must go and spend hours waiting in line at his local law enforcement agency’s sex

offender registry office.

       64. If Plaintiff had been accused of violating his probation terms, the maximum sanction

would have been to serve his sentence. Under SORA, Plaintiff faces arrest and prosecution on a

felony charge for each alleged violation of the law.




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       65. The fundamental difference between the reporting, surveillance, and supervision

requirements of probation and those of SORA is that probation is based on the premise that con-

victed persons like Plaintiff can be rehabilitated and prepared to be productive members of socie-

ty once they have served their sentence, while the premise of SORA is that Plaintiff is and will

always be a menace to society, regardless how many years Plaintiff lives peaceably, productively,

and without criminal conduct.

       66. Under SORA, Plaintiff must report significantly more information than what he was

required to report while he was serving his sentence on probation.

       67. SORA’s requirement that minor changes be reported in person within 48-hours is a

level of reporting that far exceeds what Plaintiff experienced while he was serving his sentence

on probation.

       68. As a result of SORA’s immediate reporting requirements, coupled with the quarterly

reporting requirements, Plaintiff must, for the rest of his life, report in person to law enforcement

with a frequency that is greater than his reporting obligations when he was on probation.

       69. For Plaintiff, the lifetime surveillance imposed by these reporting requirements is not

only intrusive but burdensome. Plaintiff must report in person. Plaintiff cannot even pay his an-

nual registration fee without appearing in person because the law arbitrarily commands it.

                L. Vagueness, Strict Liability, and Impossibility of Compliance

       70. The restrictions and obligations of SORA are so vague that Plaintiff is unable to know

whether or not he is in violation of the law and are so extensive and pervasive that Plaintiff is

literally unable to comply with the law. On at least one occasion, after consulting with his

probation officer, Plaintiff rented an apartment in Cookeville, Tennessee only to be told

afterward that his apartment was within 1000 yards of a school.




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       71. SORA’s requirements for reporting personal information are so vague that Plaintiff

does not understand what information must be reported or what changes in information subject

him to the in-person, 48-hours reporting requirement.

       72. For example, SORA requires Plaintiff to report a “material change in employment or

vocation status” within 48-hours and defines a “material change in employment or vocation sta-

tus” to include “substantially changing the offender’s hours of work at the same employment or

vocation” or “any other change in the offender’s employment or vocation that differs from that

which the offender originally registered” if the change remains in effect for five consecutive days

or more. Tenn. Code Ann. § 40-39-203(a)(6) (West 2021). If Plaintiff takes a vacation of more

than five days and does no work, he does not know whether he must report that period.

       73. SORA also requires Plaintiff to report any change to any information on his registra-

tion within 48-hours. Tenn. Code Ann. § 40-39-203(a)(4) (West 2021). The information on his

registration includes “any vehicle used or owned by an offender” and a “current photograph” of

that vehicle. Id. § 40-39-203(i)(10) & (19). If Plaintiff borrows a car even once, Plaintiff does not

know whether he must report that use. If Plaintiff’s car breaks down so that he cannot use it,

Plaintiff does not know if he has to report that he is no longer using the car. If Plaintiff gets in a

wreck and the car sustains visible damage, Plaintiff does not know whether he must report and

provide an updated photograph of the car. If Plaintiff has to use a rental car while his car is in the

shop, Plaintiff does not know whether he must report that and then report again when he returns

the rental car to the rental company.

       74. SORA prohibits Plaintiff from residing or working within 1,000 feet from the proper-

ty line of any public school, private or parochial school, licensed day care center, other child care

facility, public park, playground, recreation center or public athletic field available for use by the

general public, and prohibits Plaintiff from standing, sitting “idly,” or remaining within that same


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distance of those locations if Plaintiff “has reason to believe” minors are present and does not

have a “reason or relationship involving custody of or responsibility for” a minor or “any other

specific or legitimate reason for being there.” Tenn. Code Ann. § 40-39-211(a) & (d) (West

2021). Plaintiff often cannot know if he is standing or sitting “idly” within 1,000 feet of one of

these prohibited areas because the property boundaries are unknown and the distances are impos-

sible to measure without sophisticated equipment.

       75. Plaintiff also cannot know whether a law enforcement officer will deem him to have a

“legitimate reason for being there” and is therefore subject to arbitrary arrest.

       76. Plaintiff must obtain and maintain a valid driver’s license or photo identification and

must “always have the license or identification card” in his possession. Tenn. Code Ann. § 40-

39-213(a) (West 2021). The law does not define “possession.” Thus, it is unclear whether Plain-

tiff is in violation of the law in situations where he cannot have his identification on his person,

for example, while swimming, sleeping, or exercising.

       77. Plaintiff is concerned that he will inadvertently violate SORA’s requirements because

he does not understand what they are.

       78. SORA imposes criminal liability despite the impossibility of compliance. SORA im-

poses liability regardless of whether illness, injury, or practical difficulties make compliance im-

possible.

       79. Plaintiff fears that, despite his best efforts to understand and comply with the law, and

despite the absence of any intention to violate the law, he will be held criminally liable for any

failure to comply. He knows that he can be punished with prison even if he does not know a par-

ticular act or omission is illegal, because SORA imposes criminal liability solely on the basis that

the defendant “knowingly” commits various innocent acts.

       80. Any violation of SORA’s requirements is a Class E felony, Tenn. Code Ann. § 40-39-


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208(b) (West 2021), which carries a minimum sentence of one year and a maximum sentence of

six years, id. § 40-35-111(a)(5). People convicted of violating SORA’s requirements, however,

are subject to mandatory minimum sentences and fines of ninety days and $350 for the first of-

fense, 180 days and $600 for the second offense, and one year and $1,100 for the third or subse-

quent offense. Id. § 40-39-208(b)–(e).

                                 M. Consequences beyond SORA

        81. Because Plaintiff must register as a sex offender under SORA, he is also subject to a

vast and labyrinthine array of laws and ordinances imposed on registered sex offenders by the

federal government, other state or tribal governments, and municipalities.

        82. Because registration in one state generally triggers registration in another state, the

fact that Plaintiff is subject to SORA means he is also subject to the sex offender registration

laws of other jurisdictions if he travels or moves.

                                       N. Irreparable Harm

        83. Plaintiff has and continues to suffer irreparable harm from SORA’s enforcement

against him and has no other adequate legal remedy for that harm.

                                      CLAIM FOR RELIEF

                                             COUNT 1

              Violation of Ex Post Facto Clause as Applied to Pre-SORA Offenses

        84. Plaintiff incorporates the preceding paragraphs by reference.

        85. SORA applies to criminal offenses that occurred before SORA’s effective date.

        86. Individually and in combination, SORA’s provisions are punitive in effect on their

face.

        87. SORA therefore violates the Ex Post Facto Clause and is unconstitutional as applied

based on criminal offenses that occurred before SORA’s effective date.


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         88. Plaintiff is therefore entitled to a judgment: (a) declaring that (i) SORA violates the

 Ex Post Facto Clause as applied based on criminal offenses that occurred before SORA’s effec-

 tive date and (ii) Plaintiff has no obligation to comply with SORA; (b) preliminarily and perma-

 nently enjoining Defendants, their officers, agents, employees, servants, and attorneys, and all

 persons in active concert or participation with them (i) from applying SORA based on criminal

 offenses that occurred before SORA’s effective date, (ii) from enforcing SORA against Plaintiff,

 including the continued publication of Plaintiff’s information on the sex offender registry

 (“SOR”), and (iii) to remove Plaintiff’s information from the SOR; and (c) awarding Plaintiff’s

 reasonable attorney fees.

                                             COUNT 2

                      Violation of Ex Post Facto Clause as Applied to Plaintiff

         89. Plaintiff incorporates the preceding paragraphs by reference.

         90. SORA applies to criminal offenses that occurred before SORA’s effective date.

         91. Individually and in combination, SORA’s provisions are punitive in effect on their face

and/or as applied to Plaintiff.

         92. SORA therefore violates the Ex Post Facto Clause and is unconstitutional as applied

 to Plaintiff.

         93. Plaintiff is therefore entitled to a judgment: (a) declaring that (i) SORA violates the

 Ex Post Facto Clause as applied to Plaintiff and (ii) Plaintiff has no obligation to comply with

 SORA; (b) preliminarily and permanently enjoining Defendants, their officers, agents, employ-

 ees, servants, and attorneys, and all persons in active concert or participation with them (i) from

 enforcing SORA against Plaintiff, including the continued publication of Plaintiff’s information

 on the SOR, and (ii) to remove Plaintiff’s information from the SOR; and (c) awarding Plaintiff’s

 reasonable attorney fees.



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                                    REQUEST FOR RELIEF

       For these reasons, Plaintiff requests the Court to grant judgment against Defendants:

       1. On Count 1, (a) declaring that (i) SORA violates the Ex Post Facto Clause as applied

based on criminal offenses that occurred before SORA’s effective date and (ii) Plaintiff has no

obligation to comply with SORA; and (b) preliminarily and permanently enjoining Defendants,

their officers, agents, employees, servants, and attorneys, and all persons in active concert or par-

ticipation with them (i) from applying SORA based on criminal offenses that occurred before

SORA’s effective date, (ii) from enforcing SORA against Plaintiff, including the continued pub-

lication of Plaintiff’s information on the SOR, and (iii) to remove Plaintiff’s information from

the SOR;

       2. On Count 2, (a) declaring that (i) SORA violates the Ex Post Facto Clause as applied

to Plaintiff and (ii) Plaintiff has no obligation to comply with SORA; (b) preliminarily and

permanently enjoining Defendants, their officers, agents, employees, servants, and attorneys, and

all persons in active concert or participation with them (i) from enforcing SORA against

Plaintiff, including the continued publication of Plaintiff’s information on the SOR, and (ii) to

remove Plaintiff’s information from the SOR;

       3. Awarding Plaintiff’s costs and reasonable attorney fees pursuant to 42 U.S.C.

§ 1988(b) following entry of judgment and upon Plaintiffs’ motion pursuant to Fed. R. Civ. P.

54(d)(2); and

       4. Granting any other necessary or proper relief.

       Dated: April 10, 2023.
                                                  Respectfully submitted:

                                                  /s/ John B. Nisbet III BPR No. 13364
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                                                  Plaintiff’s Counsel

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